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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
v.                                             §               No. 4:10-cr-00459
                                               §
MAURICIO MERCADO                               §

     UNOPPOSED MOTION FOR PERMISSION TO TRAVEL FOR WORK
           OUSTSIDE THE SOUTHERN DISTRICT OF TEXAS

TO THE HONORABLE KENNETH M. HOYT:

         Defendant, MAURICIO MERCADO, by and through his undersigned attorney,

Charles Flood, and filed this unopposed motion for permission to travel for work, saying

for cause as follows:

         1)      Defendant is employed as an inspector by Wicks and Associates Industrial

Services, an oil field services company. His employer has requested to temporarily re-

assign him to the Sinclair, Wyoming for approximately nine (9) months.

         2)       Defendant requests permission to travel to Sinclair, Wyoming as part of a

work assignment at the Sinclair Refinery located at 100 Lincoln Hwy., Sinclair Wyoming

82334.        Pending completion of this work assignment, Defendant will reside at 115 E.

Miller St. Rawlins WY, 82301.

         3)      U.S. Pretrial Service Officer Andrew Flores and Assistant U.S. Attorney Lisa

Collins are unopposed to this request.




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       WHEREFORE, PREMISES CONSIDERED, Defendant MAURICIO MERCADO

respectfully request that this Court grant his unopposed motion for permission to travel to

Sinclair, Wyoming returning on or about October 1, 2022.



                                                 Respectfully submitted,



                                                 /s/ Charles Flood
                                                 Charles Flood
                                                 Email: charles@floodandflood.com
                                                 Federal I.D. No. 22508
                                                 914 Preston at Main, Suite 800
                                                 Houston, TX 77002
                                                 (713) 223-8877
                                                 (713) 223-8879 fax




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                          CERTIFICATE OF CONFERENCE

       Counsel has conferred with Assistant U.S. Attorney Jill Stotts and Pre-Trial Officer,
Andrew Flores who are both unopposed to Defendant’s request to travel for work.



                                                 /s/ Charles Flood
                                                 Charles Flood




                              CERTIFICATE OF SERVICE

       I hereby certify that on February 22, 2022, I electronically filed the foregoing
document with the Clerk of Court using the CM/ECF system which will send notification
of such filing to all counsel of record.



                                                 /s/ Charles Flood
                                                 Charles Flood




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